               Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 1 of 10 Page ID #:437
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     -XGJH              CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                                                                                                                                           gga

 'DWHVRI 7ULDO
 RU+HDULQJ          3/13/2019 - 3/14/2019

 &RXUW5HSRUWHUV       Debbie Hino-Spaan; Carol Zurborg
 RU7DSH1R

 'HSXW\&OHUNV          Gabriela Garcia

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 MiRi Song                                                                         Erin Murphy
 Kevin Reidy                                                                       Georgina Wakefield

 David Kowal




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     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 2 of 10 Page ID #:438



 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     MIRI SONG (Cal. Bar No. 291140)
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 7        Facsimile: (213) 894-0141
          E-mail:    miri.song@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12

13   UNITED STATES OF AMERICA,                No. CR 19-00050-CJC
14             Plaintiff,                     JOINT WITNESS LIST
15                   v.                       Trial Date:     March 13, 2019
                                              Time:           8:30 a.m.
16   ADAU AKUI ATEM MORNYANG,                 Location:       Courtroom of the
                                                              Hon. Cormac J.
17             Defendant.                                     Carney
18

19

20

21

22        Plaintiff United States of America, by and through its attorney
23   of record, the United States Attorney for the Central District of
24   California and Assistant United States Attorney MiRi Song, and
25   defendant ADAU AKUI ATEM MORNYANG, by and through her counsel of
26   record, Deputy Federal Public Defenders Erin M. Murphy and Georgina
27   Wakefield, hereby submit their Joint Witness list for their
28   respective cases-in-chief.
     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 3 of 10 Page ID #:439



 1        The parties respectfully request leave of the Court to

 2   supplement or modify this witness list as may be appropriate.

 3

 4   Dated: March 8, 2019                 Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          LAWRENCE S. MIDDLETON
 7                                        Assistant United States Attorney
                                          Chief, Criminal Division
 8

 9                                              /s/
                                          MIRI SONG
10                                        Assistant United States Attorney
11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
12

13

14
     Dated: March 8, 2019                        /s/ with email authorization
15
                                            ERIN M. MURPHY
16                                          GEORGINA WAKEFIELD
                                            Deputy Federal Public Defenders
17                                          Attorney for Defendant
                                            ADAU AKUI ATEM MORNYANG
18

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     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 4 of 10 Page ID #:440



 1                    UNITED STATES v. ADAU AKUI ATEM MORNYANG
 2                                 CR NO. 19-00050-CJC
 3                                 JOINT WITNESS LIST

 4   GOVERNMENT’S WITNESS LIST

 5          NO.      WITNESS NAME                        DATE TESTIFIED
 6          1        Jeffrey Bolanowski                  3/14/2019
 7          2        Jason Jay                           3/13/2019
 8
            3        Romeo Gutierrez                     3/13/2019
 9

10

11   DEFENDANT’S WITNESS LIST
12          NO.      WITNESS NAME                       DATE TESTIFIED
13          1        Gina Currie                        3/14/2019
14
            2        Juliette Boewe                     3/14/2019
15
            3        Ashleigh Royle                     3/14/2019
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     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 5 of 10 Page ID #:441



 1   NICOLA T. HANNA
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 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     MIRI SONG (Cal. Bar No. 291140)
 4   Assistant United States Attorney
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 5        1200 United States Courthouse
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 6        Los Angeles, California 90012
          Telephone: (213) 894-2262
 7        Facsimile: (213) 894-0141
          E-mail:    miri.song@usdoj.gov
 8

 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13
     UNITED STATES OF AMERICA,                No. CR 19-00050-CJC
14
               Plaintiff,                     JOINT EXHIBIT LIST
15
                     v.                       Trial Date:     March 13, 2019
16                                            Time:           8:30 a.m.
     ADAU AKUI ATEM MORNYANG,                 Place:          Courtroom of the
17                                                            Hon. Cormac J.
               Defendant.                                     Carney
18

19

20

21

22        Plaintiff United States of America, by and through its counsel
23   of record, the United States Attorney for the Central District of
24   California and Assistant United States Attorney MiRi Song, and
25   defendant ADAU AKUI ATEM MORNYANG, by and through her counsel of
26   record, Deputy Federal Public Defenders Erin M. Murphy and Georgina
27   Wakefield, hereby submit their Joint Exhibit List.
28   //
     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 6 of 10 Page ID #:442



 1        The parties reserve the right to modify this list, including

 2   removing or adding exhibits before and throughout the trial.

 3

 4   Dated: March 8, 2019                 Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          LAWRENCE S. MIDDLETON
 7                                        Assistant United States Attorney
                                          Chief, Criminal Division
 8

 9                                              /s/
                                          MIRI SONG
10                                        Assistant United States Attorney
11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
12

13

14
     Dated: March 8, 2019                      /s/ with email authorization
15                                          ERIN M. MURPHY
                                            GEORGINA WAKEFIELD
16                                          Deputy Federal Public Defenders
                                            Attorney for Defendant
17                                          ADAU AKUI ATEM MORNYANG
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     Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 7 of 10 Page ID #:443



 1                    UNITED STATES V. ADAU AKUI ATEM MORNYANG

 2                                CR No. 19-00050-CJC
 3                                 JOINT EXHIBIT LIST
 4   GOVERNMENT’S EXHIBITS
 5
      EXHIBIT                  DESCRIPTION                     DATE         DATE
 6      NO.                                                 IDENTIFIED    ADMITTED

 7       1      Airplane layout                             3/13/2019    3/13/2019

 8

 9       2      Audio Clip 1                                3/13/2019    3/13/2019

10
         3      Pictures of Rear Galley                     3/13/2019    3/13/2019
11

12

13
     DEFENDANT’S EXHIBITS
14
          None finalized at this time.
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Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 8 of 10 Page ID #:444
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Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 9 of 10 Page ID #:445
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Case 2:19-cr-00050-CJC Document 71 Filed 03/14/19 Page 10 of 10 Page ID #:446
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